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                         IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     )   NO. 1:10-cr-346 OWW
                                                   )
12                         Plaintiff,              )   ORDER STAYING MAGISTRATE'S ORDER
                                                   )   RELEASING DEFENDANTS ON BOND
13                                                 )   PENDING HEARING ON THE
                                    v.             )   GOVERNMENT'S MOTION FOR
14                                                 )   REVOCATION HEARING, AND ORDER
                                                   )   SETTING HEARING
15   PHILLIP SPARKS,                               )
           aka “Sharky,”                           )
16                                                 )
                           Defendant.              )
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18
            Upon application of the United States Government for stay of the order of the magistrate
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     setting conditions of release for the above-named defendant, and good cause appearing,
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            IT IS HEREBY ORDERED THAT the Magistrate's order setting conditions for release of the
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     above-named defendant, be stayed pending the disposition of the government's motion to revoke
22
     such orders.
23
            IT IS FURTHER ORDERED that the hearing on the government’s motion be set for
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     November 1, 2010, at 1:30 p.m.
25
26
     Dated: October 20, 2010                               /s/ OLIVER W. WANGER
27                                                         UNITED STATES DISTRICT JUDGE
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